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               IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF PENNSYLVANIA

 PENNSYLVANIA STATE CONFERENCE OF
 THE NAACP, et al.,

                           Plaintiffs,
       v.
                                                      Case No. 1:22-cv-00339-SPB
 LEIGH M. CHAPMAN, in her official capacity
 as Acting Secretary of the Commonwealth, et
 al.,

                          Defendants.



                   CORPORATE DISCLOSURE STATEMENT

      Pursuant to LCvR 7.1 of the Western District of Pennsylvania and to enable

Judges and Magistrate Judges to evaluate possible disqualification or recusal, the

undersigned counsel for Plaintiffs in the above captioned action—the League of

Women Voters of Pennsylvania, Philadelphians Organized to Witness, Empower and

Rebuild, Common Cause Pennsylvania, Black Political Empowerment Project, the

NAACP Pennsylvania State Conference, and Make the Road Pennsylvania—certifies

that none of the plaintiff organizations have parents, subsidiaries and/or affiliates of

said party that have issued shares or debt securities to the public.
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Dated: November 9, 2022              Respectfully submitted,

                                      /s/ Megan C. Keenan
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                                     Common Cause Pennsylvania, Black
                                     Political Empowerment Project, and
                                     Make the Road Pennsylvania
